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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                                    CASE NO. 8:91-CR-300-T-17-TGW


NORMAN LEON BURGESS
                                        /

                                             ORDER

        This cause comes before the Court on the defendant’s second and/or renewed motion for
reduction of sentence (Document No. 831) and response thereto (Docket No. 833). The Court
finds the response to be persuasive and it is incorporated herein. Accordingly, it is.


        ORDERED that defendant’s motions be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 5th day of September,
2007.




Copies furnished to: All Counsel of Record
